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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 22-mj-22
                                              :
ILYA LICHTENSTEIN, and                        :
                                              :
HEATHER MORGAN,                               :
                                              :
               Defendants.                    :
                                              :

                            MOTION FOR TRANSPORT ORDER

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully requests that this Court enter an Order directing the United

States Marshals Service to transport the Defendants in the above-captioned case from the Southern

District of New York to the District of Columbia for further proceedings on the Complaint filed

against them. In support of its motion, the government states as follows:

       1.      The defendants, Ilya Lichtenstein and Heather Morgan (collectively, the

“Defendants”) were arrested on February 8, 2022 on a criminal complaint and arrest warrant issued

by Magistrate Judge Meriweather on February 7, 2022. The complaint charges the defendants

with Money Laundering Conspiracy, in violation of 18 U.S.C. § 1956(h), and Conspiracy To

Defraud the United States, in violation of 18 U.S.C. § 371. The defendants were presented for

their Initial Appearance pursuant to Fed. R. Crim. P. 5 on February 7, 2022 in the Southern District

of New York. The government moved for pretrial detention pursuant to 18 U.S.C. § 3142(f)(2)(A)

on the ground that the defendant posed a serious risk of flight.
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       2.      On February 8, 2022, a detention hearing was held in the Southern District of New

York before Magistrate Judge Freeman. The Magistrate Judge denied the government’s motion

and ordered the defendant released on bond pursuant to certain conditions.

       3.      The government orally moved to stay the defendant’s release pending an appeal by

the government. Magistrate Judge Freeman denied the request for a stay.

       4.      The government filed in this Court a Motion for Emergency Stay and for Review

of Release Order on February 8, 2022.

       5.      In order to resolve the pending motion to review the release determination made by

the Magistrate Judge in the Southern District of New York, and to conduct further proceedings in

this matter, the Defendants, who remain temporarily detained, need to be transported to the District

of Columbia by the United States Marshals Service.

       Accordingly, the United States moves this Court to issue an Order directing the United

States Marshals Service to transport the defendant forthwith to the District of Columbia for further

proceedings.
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                           Respectfully submitted,

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                           UNITED STATES ATTORNEY
                           D.C. Bar No. 481052


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